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UNlTED STATES DlSTRlCT COURT
CENTRAL DlSTRlCT OF CAL[FORN]A
ClVlL lVllNUTES -- GENERAL
Case No. EDCV 00-00372-VAP (EEX) Date' September14, 2001
Title' HORPHAG RESEARCl-l LTD. -v- LARRY GARCIA dba Healthierlife.Com; lVlARlO

PELLEGRlNl dba Healthdiscovery.Com; LARRY GARClA dba Healthierlite Com
[counter-claimant] v. HORPHAG RESEARCl-l LTD. [counter-defenclant]

 

PRESENT HONORABLE VlRGlNlA A. Pl-llLL|PS, U.S D|STR|CT JUDGE

Rachel lngram None Present
Courtroorn Deputy Court Reporter

ATTORNEYS PRESENT FOR PLAlNTlFFS. ATTORNEYS PRESENT FOR DEFENDANTS:
None None

PROCEED|NGS. ORDER ('l) DENY|NG DEFENDANT'S lVlOTION FOR RECONS|DERAT|ON
AND (2) DENY|NG W|THOUT PREJUD|CE PLA|NT|FF'S REQUEST FOR
SANCT|ONS

The Court has received and considered all papers filed in support of Defendant's l\/lotion for
Reconsideration The lVlotion is appropriate for resolution without oral argument §§e_ Fed. R Civ.
P 78, Local Rule 7 After reviewing and considering all papers filed in support of and in opposition
to Defendant's l\/lotion, the Court DEN|ES the I\/iotion

|. BACKGROUND & PROCEEDINGS
This trademark action was tried on duly 24-27, 2001. After both sides had rested their
cases, the Court granted Plaintif'l‘s Nlotion for Judgment as a Nlatter of Law on duly 27, 2001 and
entered judgment in Plaintift‘s favor on August 28, 2001. Defendant now asks the Court to
reconsider the judgment under Federal Rule of Civil Procedure 59(e)

Defendant t"iled his Nlotion for Reconsideration on August15, 2001, along with supporting
documents Pla:ntift filed sts Opposition on August 27, 2001, along with its request for sanctions
and supporting documents Defendant filed his Reply on August 31, 2001.

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ll. DlSCUSSlON
A. Legal Standard
A district court may reconsider its grant of summary judgment under either Federal Rule of
Civil Procedure 59(e) or Rule 60(b). School Dist. No 1J. lvlultnornah Countv. Or v ACandS, lnc.,
5 F.3d 1255, 1263 (ch Cir. 1993).

The same standard applies to motions under both Rule 59(_e)1 and Rule 60(b). Barber v.
State of Hawai'i, 42 F 3d 1185, 1995 (9th Cir. 1994). Federal Rule 60(b) provides that the court
may relieve a party from a final judgment1 order, or proceeding2 lVlotions brought under this rule
require the court to balance the interest in finality of judgments w_im the interests ofjustice. §§
Rodgers v. Watt, 722 l-' 2d 456, 459 (ch Cir. 1983) (stating Rule 60(b) ought to be construed "to
achieve the just determination in every action") l\/lotions brought under Rule 60(b), therefore, are
within the sound discretion of the district court See Thompson v. l-lo_usino Authoritv of the Citv of
Los Angeles, 782 F 2d 829, 832 (ch Cir. 1986), M denied, 479 U S. 829, 107 3 Ct. 112, 93 L.
Ed 2d 60 (1986), Martella v, Nlarine Cooks & Stewards Union. 448 F.2d 729, 730 (ch Cir 1971),

g§_i; denied 405 u.s. 974, 92 s ct 1191,31 L. Ed. 2d 248(1972)

The moving party under Rule 60(b) is entitled to relief from judgment for the following
reasons: (1) mistake, inadvertence surprise, or excusable neglectl (2) newly discovered evidence,
(3) fraud, misrepresentation, or other misconduct of an adverse paity; (4) the judgment is void; (5)
the judgment has been satisfied, released, or discharged; or (6) any other reason justifying relief
from the operation of the judgment E Fed. R. Civ Proc. 60(b).

ln addition, Local Rule 7.16 states that a l\/iotion for Reconsideration of any decision:
"may be made only in light of (1) a material difference in fact or law that could not have
been known with an exercise of reasonable diligence at the time of the courts original
decision, (2) the emergence of new material facts or a change in the law after the original
decision was rendered, (3) a manifest showing or failure to consider material facts
presented to the court before its original decisionl

U S. Dist. Ct for the Central District Local Rule 7 16.

 

1FRCF’ 59(e) provides: Any motion to alter or amend a judgment shall be filed no later than
10 days after entry of the judgment

2 FRCP 60(b) provides:
On motion and upon such terms as are just, the court may relieve a party or a party's legal
representative from a final judgment order, or proceeding for the following reasons: (1) mistake,
inadvertence, surprise, or excusable neglect; . (4) the judgment is void; (5) the judgment has
been satisfied, released, or discharged , or a prior judgment upon whlch it is based has been
reversed or othenivise vacated, or it is no longer equitable that the judgment should have
prospective application; or (6) any other reason justifying relief from the operation of the judgment

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B. Application

As a threshold matter, Defendant's l\llotion is timely. A party must file a Rule 59(e) motion
within ten days after entry of judgment Fed R. Civ. Proc 59(e). Here, although Defendant filed
his Motion for Reconsideratiori before the entry of judgment it nevertheless is timely. §e§
Aciostino v Ellamar PackingCo,, 191 F 2d 576 (9th Cir. 1951) (motion made before entry of
judgment construed as a motion for reconsideration).

The Court turns to the merits of Defendant's l\/lotion Defendant claims that during trial,
Plaintiff deceived the Court as to the nature of his websites and their use of the term
"Pycnogenol " (Defendant's l\/lotion for Reconsideration ("Def 's lVlot.") at 7.) He argues that his
use of the term "Pycnogenol" constitutes "fair use" of F’laintiff's trademark, an aermatlve defense
for trademark claims. lgg at 14; l\lew Kids on the Block v. News Am Publ'o, lnc., 971 F 2d 302,
308 (9th Cir. 1991)

At trial, Defendant did not raise the argument that Plaintiff deceived the Court Defenses
not raised or argued at trial ordinarily are waived by the parties failing to raise them. Cunningham
v. l-lealthcol lnc , 824 F 2d 1448, 1458 (Sth Cir 1987) Motions for a new trial or to alter or amend
a judgment must clearly establish either a manifest error of law or fact or must present newly
discovered evidence These motions cannot be used to raise arguments which could have been
made before the judgment issued Furthermore, they cannot be used to argue a case under a
new legal theory Federal Deposit |ns. Corp. v. l\/lever. 781 F 2d 1260, 1268 (7th Cir. 1986).

Here, Defendant uses a new argument in an attempt to re-argue his fair use affirmative
defense although he was given an adequate opportunity at trial to present his case. l-te claims
that Plaintiff "thwarted" his ability to present his defense, further, he claims that Plaintiff "confused
and deceived" the Court (Def.'s Nlot at 8 )

The crux of Defendant's argument is that the Court failed to note the distinction between his
commercial websites using Pycnogenol in a "trademark" manner and his non-commercial websites
using Pycnogenol in solely a descriptive manner (Def 's N|ot. at 15-16.)

Defendant fails to demonstrate a basis for reconsideration of the judgment l'le does not
identify material differences in fact or law from that presented during trial l-le also does not
contend that new material facts emerged or the law changed after trial.

Finally, Defendant does not establish a manifest showing of this Court's failure to consider
material facts to it before granting Plaintifi‘s Nlotion. ln fact, Defendant presented evidence at trial
of the websites he now attempts to distinguish from "commercial" websites using the term
"Pycnogenol" in a "trademarl<" manner. For example, Ferrari, Cool<, and Garcia testified as to the
healthierlife.com, pycnogeno|info.com, and pyc com websites.

Defendant thus has failed to establish any acceptable basis for reconsideration of this
Court's ruling. Accordingly, the Court DENlES his l\/|otion

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lll. SANCT|ONS
Plaintiff asks for sanctions pursuant to 28 U.S.C. § 1927 (Plaintiffs Opposition ("PI 's
Opp'n") at 17 ) Section 1927 provides for sanctions against persons who multiply the proceedings
iri any case "unreasonably and vexatiously." 28 U S.C. § 1927 Plaintiff requests an award equal
to the attorneys' fees, costs, and expenses it incurred in opposing Defendant's l'vlotion for
Reconsideration. (Pi 's Opp'n at 17.) lt does not, however, submit any evidence of the amount it
seeks

The Court thus DEl\llES Plaintiff's request for sanctions without prejudice to seeking them
as part of a lVlotion for Attorneys' Fees and Costs.

CONCLUSION
For the foregoing reasons, the Court DENlES Defendant's Motion for Reconsideration and
DENlES Plaintiff‘s request for sanctions

|T lS SO ORDERED.

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